Case 1:19-bk-10118       Doc 34     Filed 03/13/19 Entered 03/14/19 09:31:53             Desc Main
                                    Document     Page 1 of 2



This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: March 13, 2019



________________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

IN RE:                                               :        Case No. 19-10118
                                                     :        (Chapter 7)
   ANDREW MICHAEL PARKER and                         :        (Judge J. Hopkins)
   LYDIA MARY PARKER                                 :
                                                     :
                               Debtors               :


       AGREED ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY


       This matter is before the Court upon the joint request of the Debtors, Andrew Michael

Parker and Lydia Mary Parker, and Creditor, General Electric Credit Union, granting Creditor

relief from the automatic stay to proceed with its state law rights with respect to the real property

located at 186 First Street, Addyston, Ohio 45001. Debtors and Creditor, through counsel, state

as follows:

       1.      Debtors filed a petition for relief under Chapter 7 of the United States Bankruptcy

Code on January 14, 2019.
Case 1:19-bk-10118        Doc 34    Filed 03/13/19 Entered 03/14/19 09:31:53               Desc Main
                                    Document     Page 2 of 2



         2.    Prior to the filing, Debtor Andrew M. Parker granted Creditor a security interest

in certain real property as follows: 186 First Street, Addyston, Ohio 45001 (hereinafter the “Real

Property”).

         3.    The value of the Real Property is approximately $18,670.00, which is less than

the obligations owed Creditor in the total sum of $19,302.08 and/or obligations secured by the

Real Property and, therefore, the Real Property is a burden to the Estate.

         4.    Debtors’ Statement of Intention indicates that they will surrender the Real

Property to Creditor.

         5.    Debtors do not dispute the granting of the security interest to Creditor.

         6.    Debtors and Creditor agree that Creditor is entitled to relief from the automatic

stay to enforce its state law remedies with respect to the Real Property.

         THEREFORE, Creditor, General Electric Credit Union is granted relief from the

automatic stay to proceed with its state law rights.

         SO ORDERED:


/s/ Thomas A. Wietholter                               /s/ Elliott Polaniecki
THOMAS A. WIETHOLTER #37831                            ELLIOTT POLANIECKI
Case Attorney for Creditor                             Trustee
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